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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

____________________________________
                                                §
UNITED STATES OF AMERICA,                       §
                                                §
                        Plaintiff,              §
v.                                              §
                                                §        Civil No. 1:21-cv-796
THE STATE OF TEXAS,                             §
                                                §
                        Defendant.              §

                                       Stipulation of Dismissal

        Pursuant to Fed R. Civ P. 41(a)(1)(A)(ii), the United States of America and Intervenor-

Defendant Oscar Stilley stipulate to the dismissal, without prejudice, of all of the United States’ claims

in this action, each party to bear their own attorneys’ fees and costs. Thus, the Court’s preliminary

injunction in this matter (ECF No. 68) is dissolved. See Fundicao Tupy S.A. v. United States, 841 F.2d

1101, 1103 (Fed. Cir. 1988) (“[A] preliminary injunction is . . . ‘ipso facto dissolved by a dismissal of

the complaint.’” (quoting 7 J. Moore, J. Lucas, & K. Sinclair, Jr., MOORE'S FEDERAL PRACTICE ¶ 65.07

at 65-114 to 65-115 (2d ed. 1987)).

Dated: August 26, 2022                                   Respectfully submitted,

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